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IN THE UNITED STATE DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

TIMOTHY PERRY AND
TRACEY PERREY

MDL DOCKET NO. 2047

PLAINTIFFS
Judge Eldon E. Fallon

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V. * Magistrate Judge Joseph C. Wilkerson, Jr.
KNAUF GIPS KG; *
KNAUF PLASTERBOARD *
TIANJIN COMPANY, LTD *
SUN CONSTRUCTION, LLC *
SUNRISE CONSTRUCTION, LLC *
FICTITIOUS DEFENDANTS A-Z *
*

DEFENDANTS

Section L

Case No. 2:09cv5500 L/2

EXPARTE MOTION AND ORDER FOR LEAVE TO FILE SUN CONTRUCTION,
L.L.C’S MOTION FOR SUMAMRY JUDGMENT PURSUANT TO RULE 56

NOW INTO COURT, through undersigned counsel, comes Defendant, Sun Construction,

LLC, who respectfully represents:

l. This Court imposed a Stay of motion practice until further order in Pre-Trial Order

No.1.
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De Sun Construction, LLC respectfully request this Honorable Court lift the stay to allow
Sun Construction, LLC to file its Motion for Summary Judgment pursuant to FRCP
Rule 56.

WHEREFORE, Sun Construction, LLC moves this court for an Order lifting the Stay
currently in effect, to allow Sun Construction, LLC to file the attached Motion for Summary
Judgment.

Respectfully submitted,

COUHIG PARTNERS, L.L.C.

BY:

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Exparte Motion and Order for Leave to File Sun
Construction, LLC’s Motion for Summary Judgment Pursuant to FRCP Rule 56 has been served

on Plaintiffs’ Liaison Counsel, Russ Hermann at Drywall(@hhke.com. and Defendants’ Liaison

Counsel, Kerry Miller at Kmiller@frilot.com, and Homebuilder Sterring Committees’ Counsel

Hilarie Bass and Phillip A. Wittmann at pwittman(@stonepigman.com and upon all parties by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
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No. 6, and that the foregoing was electronically filed with the Clerk of Court of the United States
District for the Eastern District of Louisiana by using the CM/ECF System, which will send a
notice of electronic filing in accordance with the procedures established in MDL 2047, on the

10th day of November, 2009.

LEA
DAVID C. LOEB

